

People v Byron (2021 NY Slip Op 06780)





People v Byron


2021 NY Slip Op 06780


Decided on December 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 02, 2021

Before: Webber, J.P., Friedman, Oing, Shulman, Pitt, JJ. 


Ind No. 316/16 Appeal No. 14724 Case No. 2019-5495 

[*1]The People of the State of New York, Respondent,
vShurine Byron, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Emilia King-Musza of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Catherine Read of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Robert A. Neary, J.), rendered March 6, 2019, as amended March 7 and 8, 2019, convicting defendant, upon her plea of guilty, of promoting prostitution in the third degree, and sentencing her to a term of 2 to 6 years, unanimously modified, on the law, to the extent of vacating the supplemental sex offender victim fee, and otherwise affirmed.
Although we do not find that defendant made a valid waiver of her right to appeal, we perceive no basis for reducing the sentence. However, as the People concede,
the supplemental sex offender victim fee should be vacated because promoting prostitution in the third degree is not one of the enumerated offenses for which that fee may be imposed (Penal Law § 60.35[1][b]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 2, 2021








